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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
11                                                   Case No. 3:16-md-02741-VC

12 This document relates to:

13 Gilbert Gingerich and Sandra Gingerich
   v. Monsanto Co.,
14 Case No. 3:19-cv-08004-VC

15          MONSANTO COMPANY’S CORPORATE DISCLOSURE STATEMENT
16         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Monsanto Company
17 (“Monsanto”) makes the following disclosures:

18         1.     Monsanto is an indirect, wholly-owned subsidiary of Bayer AG.
19         2.     Bayer AG is a publicly held corporation.
20 DATED: January 8, 2020                           Respectfully submitted,
21                                                  /s/ Eric G. Lasker
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                          3:16-md-02741-VC & 3:19-cv-08004-VC
